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                        IN THE UNITED          STATES DISTRICT       COURT       FOR THE
                                    SOUTHERN DISTRICT OF GEORGIA
                                               AUGUSTA DIVISION


UNITED STATES       OF AMERICA


      v,                                                                   CR    110-251


ROBERT LEE BELTON,        JR.



                                                  ORDER




      Defendant has         filed a       motion for reduction of               sentence under 18 U.S.C.


§ 3582(c)(2) on the basis that Amendment 782 to the United States Sentencing

Guidelines        has   revised          the    guidelines      applicable         to   drug     trafficking

offenses.1        Even though Amendment 782 became effective on November 1, 2014,

no   defendant      may   be    released on         the   basis      of    the     retroactive       amendment

before November 1,          2015.         See U.S.S.G.        Amend.      788.     Thus,    the Court will

undertake     a    review      of    cases      involving     drug     trafficking         offenses    in     due

course.      If    Defendant        is   entitled   to    a   sentence      reduction       as   a   result   of

amendments to the United States Sentencing Guidelines,                               the Court will make

such a reduction sua sponte.                   Accordingly, Defendant's motion {doc. 915) is

DEFERRED.1

      ORDER ENTERED at Augusta, Georgia, ^fers-^OC /"^d»# of January, 2015.


                                                               J.    RANDAL HALL
                                                 UNITED STATES DISTRICT JUDGE
                                                 SOUTHERN DISTRICT OF GEORGI




1     Defendant additionally seeks appointment of counsel. Because the Court will
address Defendant's request sua sponte, his request for appointment of counsel is
DENIED at this time.

1      The Clerk is directed to terminate the motion for administrative purposes.
